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                            BLACK LION CAPITAL ADVISORS

                                                                                             June 17, 2025

Black Lion Capital Advisors
430 N. Michigan Avenue - 2nd Floor
Chicago, Illinois 60611
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The Honorable Judge Leonard P. Stark
United States District Court for the District of Delaware
c/o Robert B. Pincus, Special Master
U.S. District Court
844 North King Street, Unit 18
Wilmington, DE 19801-357

Re: Crystallex lnt'l Corp. v. Bolivarian Republic of Venezuela, No. 1:17-mc-00151-LPS
Formal Irrevocable Bid Submission for CITGO Petroleum Corporation

           Qualified Irrevocable Bid for Acquisition of CITGO Petroleum Corporation

Dear Judge Stark and Special Master Pincus:

We, the undersigned principals of Black Lion Capital Advisors, LLC [Consortium formally known as
Black Lion Citgo Group, LLC] ("Black Lion"), submit this letter in our capacity as a direct bidder in the
Court-supervised auction of CITGO Petroleum Corporation ("CITGO").

Acting on behalf of the Black Lion Citgo Group, LLC, a group of strategic partners with operational,
financial, and legal expertise detailed below, we hereby confirm our intent to acquire 100% of the equity
interests in CITGO Petroleum Corporation, via the acquisition of PDV Holding, Inc., for
$8,000,000,000 USD, all cash.

This bid is submitted pursuant to the Sale Procedures Order and within the schedule established, with the
topping period concluding on June 18, 2025. Our offer is binding and unconditional, subject only to: (i)
procedural review by the Court; (ii) compliance with applicable regulatory requirements, including OFAC
authorization where, and if required (iii) review of data room and confirmation of material assumptions
through customary due diligence.

BID SUMMARY
   • Bidder: Black Lion Citgo Group, LLC
   • Lead Investors: Quazar Investment, Anex Management Ltd., Fortress Management, LLC
   • Offer Amount: USD $8,000,000,000 (Eight Billion U.S. Dollars), all cash
   • Offer Note: Total combined consideration for all investors of up to $12 billion USD, comprising
      (a) base purchase price of $8 billion USD, plus (b) additional amounts as required for court fees,
      government fees, insulation funds up to $3 billion USD, and other court-mandated costs.


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